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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA

                                       CRIMINAL MINUTES -ARRAIGNMENT
Case Number: 8:18-CR-00048-DFM                     Recorder: CS 03/26/2018                            Date: 03/26/2018

Present: The Honorable Douglas F. McCormick, U.S. Magistrate Judge

Court Clerk: Nancy Boehme                                       Assistant U.S. Attorney: Daniel Lim

 United States of America v.           Attorney Present for Defendants)             Language               Interpreter
JOSEPH ALVAREZ                         Francis E. Quinlan
     Bond                                     Retained



PROCEEDINGS: ARRAIGNMENT OF DEFENDANTS)AND ASSIGNMENT OF CASE AND INITIAL APPEARANCE.

Defendant is arraigned

Defendant is given a copy of the Information.

Defendant acknowledges receipt of a copy and waives reading thereof.

Defendants first appearance.
Bond is ordered in the amount of a $15,000 Unsecured Appearance Bond. See attached copy of the bond.

Defendant pleads not guilty to all counts in the Information.

Class B Misdemeanor case
This case is assigned to Magistrate Judge Douglas F. McCormick. Counsel are instructed to contact the clerk for the setting of
a plea and all further proceedings..

Court to take change of plea of defendant after conclusion of post indictment arraignment calendar.




                                                                                  First Appearance/Appointment of Counsel::03
                                                                                                                      PIA: 00:03
                                                                                                      Initials of Deputy Clerk: ~nL n 4 ~
                                                                                                                                —1.>




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               UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA

  Case Name: United States of America v. JOSEPH ALVAREZ                                            Case No. SACR18-0048 DFM
                                             Q Defendant         ~ Material Witness

  Violation of Title and Section: 29 U.S.C.44 207(a)(1),215(a)(2), 216(a)
                                 ~'Summons          ~ Out of District       ~ Under Seal        ~ Modified Date:

  Checker one oftheftve numbered boxes below (unless one bond is to be replaced by another):
  1,   Persona Recognizance Signature On y         (c).~ Affidavit of Surety With Justification             Release No.
                                                          (For,n cx-s) Signed by:
  2. ~ Unsecured Appearance Bond
        $      ~ `~'~' ~                                                                                     ~ Release to Pretrial ONLY
  3. ~ A$ppearance Bond                                                                                      ~ Release to Probation ONLY
                                                                                                               Forthwith Release
    (a).~ Cash Deposit(Amount or %)(Form CR-7)                    ~~,y~th Full Deeding ofProperty:

    (b).❑Affidavit of Surety Without
           Justification (For,, Cx-4) Signed by:
                                                                                                                 All Conditions of Bond
                                                                                                                 (Exce tClearing-Warrants
                                                                                                                  Con~tion) Must be Met
                                                                                                                  and Posted by:



                                                                                                                 Third-Party Custody
                                                       4.❑Collateral Bond in the Amount of(Cash                  Affidavit(Form CR-31)
                                                            or Negotiable Securities):
                                                             $                                               ■ Bail Fixed by Court:
                                                                                                             ~
                                                       5.~ Corporate Surety Bond in the Amount of             DFM      ~ nb
                                                            $                                                   (Judge /Clerk's Initials)


                                                    PRECONDITIONS TO RELEASE
     The government has requested a Nebbia hearing under 18 U.S.C.§ 3142(8)(4).
  ~ The Court has ordered a Ne bia hearing under 4 3142(g)(4).
  ~ The Nebbia hearing is set for                                      at            ❑ a.m. ❑ p.m.

                                               ADDITIONAL CONDITIONS OF RELEASE
In addition to the GENERAL CONDITIONS of RELEASE,the following conditions of release are imposed upon you:
   Submit to: [~ Pretrial Services Agency(PSA)supervision as directed by PSA; ~ Probation(USPO)supervision as directed by USPO.
               (The agency indicated above,PSA or USPO, will be referred to below as "SupervisingAgency.'~

   Surrender all passports and travel documents to Supervising Agenry no later than ~I ~~i 1~ L (..F~~ ~~,sign a Declaration
    re Passport and Other Travel Documents(Form CR-3~,and do not apply for a passport or other travel document during the pendenry
    of this case.
   Travel is restricted to l,~ }~ \ ~'''Y~     ~j'j~Q~~                                    unless prior permission is granted by Supervising
    Agenry to travel to a specific other location. Court permission is required for international travel.
   Reside as approved by Supervising Agenry and do not relocate without prior permission from Supervising Agenry.
   Maintain or actively seek employment and provide proof to Supervising Agency. ~ Employment to be approved by Supervising Agenry.
   Maintain or begin an educational program and provide proof to Supervising Agenry.
                                                                                Defendant's Initials:               Date:    J ~~ V I
                                                                                                                                   1 OF 4
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  Case Name: United States of America v. JOSEPH ALVAREZ                                           Case No. SACR18-0048 DFM

                                              ■ Defendant
                                              ~                   ~ Material Witness

      Avoid all contact, directly or indirectly (including by any electronic means), with any person who is a known victim or
       witness in the subject investigation or prosecution,0including but not limited to
                                                             0except

      Avoid all contact, directly or indirectly(including by any electronic means),with any known codefendants except.in the presence
      of counsel. Notwithstanding this provision, you may contact the following codefendants without your counsel present:

      Do not possess any firearms;ammunition, destructive devices, or other dangerous weapons. ~ In order to determine compliance,
       you agree to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.
      Do not use or possess any identification, mail matter, access device, or any identification-related material other than in your
       own legal or true name without prior permission from Supervising Agenry. ~ In order to determine compliance, you agree
       to submit to a search of your person and/or property by Supervising Agenry in conjunction with the U.S. Marshal.
      Do not engage in telemarketing.
      Do not sell, transfer, or give away any asset valued at $                                 or more without notifying and obtaining

       permission from the Court,except
      Do not engage in tax preparation for others.
      Do not use alcohol.
      Participate in the electronic remote alcohol monitoring program as directed by Supervising Agenry and abide by all the rules and
       requirements of the program. You must pay all or part of the costs for treatment based upon your ability to pay as determined by
       Supervising Agency.
      Do not use or possess illegal drugs orstate-authorized marijuana. ~ In order•to determine compliance, you agree to
       submit to a search of your person and/or property by Supervising Agenry in conjunction with the U.S. Marshal.
      Do not use for purposes of intoxication any controlled substance analogue as defined by federal law or street, synthetic, or
       designer psychoactive substance capable ofimpairing mental or physical functioning more than minimally, except as
       prescribed by a medical doctor.
      Submit to:     drug and/or ~alcohol testing. If directed to do so, participate in outpatient treatment approved by Supervising Agenry.
       You must pay all or part of the costs for testing and treatment based upon your ability to pay as determined by Supervising Agenry.
      Participate in residential ~ drug and/or ~ alcohol treatment as directed by Supervising Agency. You must pay all or part of the costs
       oftreatment based upon your ability to pay as determined by Supervising Agency.         Release to PSA only ~Release to USPO only

      Submit to a mental health evaluation. If directed to do so, participate in mental health counseling and/or treatment approved by
       Supervising Agency. You must pay all or part of the costs based upon your ability to pay as determined by Supervising Agency.
      Participate in the Location Monitoring Program and abide by all of the requirements of the program,under the direction of Supervising
       Agenry, which Owill or         will not include a location monitoring bracelet. You must pay all or part of the costs of the program based
       upon your ability to pay as determined by Supervising Agenry. You must be financially responsible for any lost or damaged equipment.
           Location monitoring only - no residential restrictions;
                             -or-
           You are restricted to your residence every day:
                   from                   ❑ a.m. ~ p.m. to                    ❑ a.m. ❑ p.m.
                   as directed by Supervising Agency;
                                                                                                         ~',                                 r~
                              -or-
                                                                                Defendant's Initials:          1     Date:    -~ J ~       ~ p
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     Case Name: United States of America v. JOSEPH ALVAREZ                                             Case No. SACR18-0048 DFM
                                                0Defendant         ~ Material Witness

           You are restricted to your residence at all times except for medical needs or treatment, attorney visits, court appearances, and
                                                                                    all of which must be preapproved by Supervising Agenry;
           Release to PSA only ~ Release to USPO only
        You are placed in the third-party custody(Form CR-3l)of
        Clear outstanding ~ warrants or0DMV and traffic violations and provide proof to Supervising Agenry within                      days
         of release from custody.
        Do not possess or have access to, in the home,the workplace, or any other location, any device that offers Internet access except
         as approved by Supervising Agenry. ~ In order to determine compliance, you agree to submit to a search of your person
         and/or property by Supervising Agenry in conjunction with the U.S. Marshal.
        Do not associate or have verbal, written, telephonic, electronic, or any other communication with any person who is less than
         the age of 18 except in the presence of a parent or legal guardian of the minor.
        Do not loiter or be found within 100 feet of any schoolyard, park, playground, arcade, or other place primarily used by children
         under the age of 18.
        Do not be employed by, affiliated with, own,control, or otherwise participate directly or indirectly in the operation of any daycare
         facility, school,or other organization dealing with the care, custody, or control of children under the age of 18.
        Do not view or possess child pornography or child erotica. ~ In order to determine compliance, you agree to submit to a search
         of your person and/or property,including computer hardware and software, by Supervising Agency in conjunction with the U.S.
         Marshal.
         Other conditions:




                                              GENERAL CONDITIONS OF RELEASE

  I will appear in person in accordance with any and all directions and orders relating to my appearance in the above entitled matter as
  maybe given or issued by the Court or any judicial officer thereof, in that Court or before any Magistrate Judge thereof, or in any other
  United States District Court to which I may be removed or to which the case may be transferred.

  I will abide by any judgment entered in this matter by surrendering myself to serve any sentence imposed and will obey any order or
  direction in connection with such judgment as the Court may prescribe.

  I will unmediately inform my counsel of any change in my contact information, including my residence address and telephone number,
  so that I may be reached at all times.

  I will not commit a federal, state, or local crime during the period of release.

  I will not intimidate any witness, juror, or officer of the court or obstruct the criminal investigation in this case. Additionally, I will not
  tamper with, harass, or retaliate against any alleged witness, victim, or informant in this case. I understand that if I do so, I may be
  subject to further prosecution under the applicable statutes.

  I will cooperate in the collection of a DNA sample under 42 U.S.C. 4 14135a.                                                                ~".
                                                                                                          (
                                                                                     Defendant's Initials: )            Date:   3 ~~ j
CR-1 (02/18)                             CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM                                 ~ PAGE 3 OF 4
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     Case Name: United States of America v. JOSEPH ALVAREZ                                          Case No. SACR18-0048 DFM
                                                0Defendant         ~ Material Witness


                                    ACKNOWLEDGMENT OF DEFENDANT/MATERIAL WITNESS

    As a condition of my release on this bond,pursuant to Tide 18 of the United States Code,I have read or have had interpreted to me
    and understand the general conditions of release, the preconditions, and the additional conditions of release and agree to comply with
    all conditions of release imposed on me and to be bound by the provisions of Local Criminal Rule 46-6.

    Furthermore, it is agreed and understood that this is a continuing bond (including any proceeding on appeal or review) which will
    continue in full force and effect until such time as duly exonerated.

    I understand that violation of any of the general and/or additional conditions of release of this bond may result in a revocation of
    release, an order of detention, and a new prosecution for an additional offense which could result in a term ofimprisonment and/or
    fine.

    I further understand that if I fail to obey and perform any of the general and/or additional conditions of release of this bond,this bond
    maybe forfeited to the United States of America. If said forfeiture is not set aside,judgment maybe summarily entered in this
    Court against me and each surety,jointly and severally,for the bond amount,together with interest and costs. Execution ofthe
    judgment maybe issued or payment secured as provided by the Federal Rules of Criminal Procedure and other laws of the
    United States, and any cash or real or personal property or the collateral previously posted in connection with this bond maybe
    forfeited.



           3 duo o?G/Fl                                                                            (~~9~39~~ ~70~
    Date                                  Signature ofDefendant /Material Witness                     Telephone Number



      ~~~ ~a                           c~
    City and State(DO NOTINCLUDE ZIP CODE)



         Check ifinterpreter is used: I have interpreted into the                                                 language this entire form
         and have been told by the defendant that he or she understands all of it.



    Interpreter's Signature                                                                         Date



     Approved:                                                                                          ~~z7 ~y
                              United States Dis~t~t Judge /Magistrate Judge                         Date


     If cash deposited: Receipt #                              for $


   (This bond may require surety agreements and affidavits pursuant to Local Criminal Rule 46.)




                                                                                Defendant's Initials: ~              Date: 3l~ ~/~
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